                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                        Civil Action No. 3:20-cv-564

 KEITH HAWTHORNE et. al.,


              Plaintiffs,
                                                        AMENDED COMPLAINT
 v.

 HIGH TENSION RANCH et al.,

              Defendants.

      Pursuant to Rule 15 of the Federal Rules of Civil Procedure and this Court’s January

22, 2021 Order [Doc. 27], and with the consent of counsel for High Tension Ranch, LLC

and Anthony Jarrett Callahan, Plaintiffs file and serve this Amended Complaint.

                       PARTIES, JURISDICTION AND VENUE

      1.     Keith Hawthorne (hereinafter “Mr. Hawthorne”) is an adult citizen and

resident of Mecklenburg County, North Carolina.

      2.     KLH Acquisition Company, LLC (hereinafter “KLH”) is a limited liability

company formed and organized under the laws of the state of North Carolina with its

principal place of business and conducting business in Mecklenburg County, North

Carolina.

      3.     Rivercross Capital, LLC (hereinafter “Rivercross”) is a limited liability

company formed and organized under the laws of the state of North Carolina with its

principal place of business and conducting business in Mecklenburg County, North

Carolina.


                                           1

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 1 of 38
      4.     Rufus Road Partners, LLC (“Rufus”) is a limited liability company formed

and organized under the laws of the state of North Carolina with its principal place of

business and conducting business in Mecklenburg County, North Carolina.

      5.     At all relevant times related to the claims herein, Mr. Hawthorne was a

Manager for KLH, Rivercross and Rufus.

      6.     Callahan Grading, LLC (hereinafter “CG”) is a limited liability company

formed and organized under the laws of the state of South Carolina with its principal

place of business in York, South Carolina, but also conducting business in Mecklenburg

County, North Carolina. During all relevant times to this action, CG had two members

holding equal 50% interests in the company; Anthony Jarrett Callahan and Beverly

Callahan.

      7.     Grinding Specialists of the Carolinas, LLC (hereinafter “GS Carolinas”) is a

limited liability company formed and organized under the laws of the state of South

Carolina with its principal place of business in York, South Carolina, but also conducting

business in Mecklenburg County, North Carolina. During all relevant times to this action,

GS Carolinas purported to be owned 100% by Anthony Jarrett Callahan.

      8.     Grinding Specialists, LLC (hereinafter “GS”) is a limited liability company

formed and organized under the laws of the state of South Carolina with its principal

place of business in York, South Carolina, but also conducting business in Mecklenburg

County, North Carolina. During all relevant times to this action, GS purported to having

two members holding equal 50% interests in the company; Anthony Jarrett Callahan and

Harry J. Callahan.


                                            2

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 2 of 38
       9.     High Tension Ranch, LLC (“HTR”) is a limited liability company formed and

organized under the laws of the state of South Carolina with its principal place of business

in York, South Carolina, but also conducting business in Mecklenburg County, North

Carolina.

       10.    Anthony Jarrett Callahan (“J. Callahan”) is an adult citizen and resident of

the State of South Carolina. J. Callahan operates, manages and directs all of the business

for CG, GS, GS Carolinas and HTR.

       11.    The Howey Co., Inc. (“Howey Co.”), is a corporation formed and organized

under the laws of the state of North Carolina with its principal place of business and

conducting business in Mecklenburg County, North Carolina.

       12.    Camden Land Co., LLC (“Camden”) is a limited liability company formed and

organized under the laws of the state of North Carolina with its principal place of business

and conducting business in Mecklenburg County, North Carolina.

       13.    STGE Investments, LLC (“STGE”) is a limited liability company formed and

organized under the laws of the state of North Carolina with its principal place of business

and conducting business in Mecklenburg County, North Carolina.

       14.    Deepe, LLC (“Deepe”) is a limited liability company formed and organized

under the laws of the state of North Carolina with its principal place of business and

conducting business in Mecklenburg County, North Carolina.

       15.    FM Capital, LLC (“FM”) is a limited liability company formed and organized

under the laws of the state of North Carolina with its principal place of business and

conducting business in Mecklenburg County, North Carolina.


                                             3

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 3 of 38
       16.    David S. Howey (“Howey”) is an adult citizen and a resident of the State of

North Carolina. Howey manages Howey Co., Camden, STGE, Deepe and FM. Howey runs

the day-to-day affairs of Howey Co., Camden, STGE, DEEPE and FM.

       17.    Hereinafter, HTR, J. Callahan, Howey Co. Camden, STGE, Deepe, FM and

Howey will be collectively referred to as “Defendants.”

       18.    Venue is proper in this District because all of the Defendants are either

residents in the Western District of North Carolina and/or transact business in the Western

District and, pursuant to 28 U.S.C. §1391(b)(2)(3), a substantial part of the events and

lack of events giving rise to these claims arose in this District. In addition, each of the

Defendants are subject to personal jurisdiction in this District.

       19.    Plaintiffs filed their initial, first Complaint on October 9, 2020 (hereinafter

the “Complaint”).

                 UNDERLYING SOUTH CAROLINA BANKRUPTCIES

       20.    On October 15, 2018, CG, GS and GS Carolinas filed separate, voluntary

petitions for relief in the United States Bankruptcy Court for the District of South Carolina

under Chapter 11 of the United States Bankruptcy Code.              CG’s bankruptcy case is

designated as Case Number 18-05220-hb, GS’s bankruptcy case is designated as Case

Number 18-05225-hb and GS Carolinas’ bankruptcy case is designated as Case Number

18-05223-hb. Hereinafter, CG, GC and GS Carolinas will be referred to as the (“Debtors”).

       21.    On March 26, 2019, the above-mentioned Debtors’ bankruptcy cases were

converted from Chapter 11 cases to Chapter 7 cases. Janet B. Haigler was appointed as

the Chapter 7 Trustee (the “CG Trustee”) in the CG bankruptcy. Robert F. Anderson was


                                             4

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 4 of 38
appointed as the Chapter 7 Trustee (the “GC Trustee”) in the GS and GS Carolinas’

bankruptcies. Collectively, the CG Trustee and the GC Trustee will be referred to as the

“Bankruptcy Trustees”.

      22.    On November 13, 2019, the United States Bankruptcy Court for the District

of South Carolina substantively consolidated GS and GS Carolinas’ bankruptcy cases.

      23.    On or about February 28, 2020, the Plaintiffs executed a Settlement

Agreement (hereinafter “Settlement Agreement”) and subsequently executed a Joint

Defense and Prosecution Agreement (hereinafter the “JPA”).        A copy of the JPA is

attached as Exhibit 2 to Plaintiffs’ Memorandum in Response to the Moving Defendants’

Motion to Dismiss, filed contemporaneously herewith.

      24.    Pursuant to the JPA, the Bankruptcy Trustees (on the one hand) and Mr.

Hawthorne, KLH, Rivercross, Rufus and other Hawthorne related entities (on the other

hand) agreed as follows:

                    The Parties and their Counsel (which, for purposes of this
                    Agreement, include the Parties' corporate counsel and outside
                    counsel and their law firms, agents, retained accountants,
                    auditors, representatives and employees) are and will
                    continue to cooperate, communicate and work together in the
                    Joint Defense and Prosecution to coordinate strategy and to
                    address such issues as they deem to be of common interest
                    to them in connection with the litigation brought by them or
                    brought against them. In furtherance of this Agreement, the
                    Parties, through Counsel, may allocate, assign and organize
                    such matters and the cost thereof by formal or informal
                    agreements among themselves by the use of committees,
                    lead counsel, coordinating counsel, subcommittees, or
                    otherwise, as they deem advisable. No party shall be required
                    to continue in the prosecution of claims against any person to
                    the extent the party determines (in its sole discretion) that
                    continued prosecution is inadvisable (based upon an analysis
                    of the likelihood of collection or otherwise). (JPA, Pg. 2).

                                           5

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 5 of 38
       25.    The Settlement Agreement was presented to the Bankruptcy Court for

approval. On April 16, 2020, the Honorable Helen E. Burris, Chief US Bankruptcy Judge,

District of South Carolina approved the Settlement Agreement in a written Consent Order

Approving Settlement Agreement (hereinafter the “Consent Order”).

       26.    On January 15, 2021, the Bankruptcy Trustees filed a Motion seeking

approval to employ JMD, and requesting other relief. The Howey Defendants opposed

the relief sought.

       27.    After a full and complete evidentiary hearing, Judge Burris entered an Order

(hereinafter the “Bankruptcy Order”). A copy of the Bankruptcy Order is attached as

Exhibit 1 to Plaintiffs’ Memorandum in Response to the Moving Defendants’ Motion to

Dismiss, filed contemporaneously herewith.

       28.    In her Bankruptcy Order, Judge Burris made the following findings:

                     (a) The Bankruptcy Trustees and their counsel, together with JMD,
                         have worked together to purse the NC Litigation (i.e. the pending
                         litigation) (hereinafter the “NC Litigation”).
                     (b) At some point after the Consent Order was executed, an attorney
                         client relationship was formed between the Bankruptcy Trustees
                         and JMD.
                     (c) The Bankruptcy Trustees intended for JMD to serve as their
                         counsel.
                     (d) The Bankruptcy Trustees reviewed the substance of and
                         authorized the filing of the Complaint in the NC Litigation.
                     (e) The prior inclusion of the Debtors in the NC Litigation was in
                         error.
                     (f) The pro hac vice admissions in the NC Litigation further evidence
                         the Bankruptcy Trustees’ intent for JMD to act as local counsel.
                     (g) Basic terms of the attorney client engagement can be
                         ascertained.
                     (h) The parties agreed to the terms of compensation which are found
                         in the Settlement Agreement.
                     (i) Employment of NC counsel is essential and in the best interests
                         of the estates.

                                             6

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 6 of 38
                      (j) Buric’s declaration, included with the Motion, explains that the
                          interests of the Claimants and the Bankruptcy Trustees are
                          aligned.

       29.    Based on the above findings, the Court entered an Order approving JMD

and Mr. Buric’s employment (effective January 15, 2021) as associated counsel for the

Bankruptcy Trustees to fulfil all obligations required under the Rules pending in the

W.D.N.C.

       30.    The Bankruptcy Court recognized that it could not enter the Bankruptcy

Order nunc pro tunc.

       31.    Judge Burris made it clear that “the significance of the effective date [of

JMD’s employment as counsel for the Bankruptcy Trustees] awaits determination from

the District Court in the NC Litigation as it considers the motion to dismiss.”

       32.    The Bankruptcy Trustees join in this suit as party plaintiffs.

                                FACTUAL ALLEGATIONS

       33.    Mr. Hawthorne and Howey were very good friends, actually, the best of

friends, for a significant period of time. Their friendship resulted in Mr. Hawthorne placing

significant trust and confidence in Howey, so much so, that Mr. Hawthorne entered into

business ventures and partnerships with Howey. In many of those business ventures

and partnerships, Mr. Hawthorne invested millions of dollars; conversely, Howey invested

little or nothing.   During the relevant times, Howey managed those businesses and

partnerships through his position as Manager, Trustee and/or Agent.

       34.    As a result of the deep friendship and significant trust and confidence Mr.

Hawthorne placed in Howey, on March 13, 2017, Mr. Hawthorne executed a General


                                             7

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 7 of 38
Power of Attorney (hereinafter “POA”), appointing Howey as Mr. Hawthorne’s Attorney-

in-Fact.

         35.    Pursuant to the POA, Mr. Hawthorne granted Howey “the power to do and

perform in a fiduciary capacity as [his] Agent may deem advisable anything of any

character which [Mr. Hawthorne] might do or perform for [himself] if personally present

and acting, including but not limited to, the specific powers set forth [in the POA]…”

         36.    On March 23, 2017, Mr. Hawthorne executed an Appointment of

Independent Trustee, appointing Howey the Independent Trustee of the Hawthorne

Family GST Irrevocable Trust U/A/D March 16, 2009 (hereinafter the “Family Trust”).

         37.    On March 23, 2017, Howey executed an Acceptance of Appointment of

Independent Trustee, accepting his appointment of Independent Trustee of the Family

Trust.

         38.    On March 23, 2017, Mr. Hawthorne executed an Appointment of

Independent Trustee, appointing Howey the Independent Trustee of the The Hawthorne

Children’s GST Irrevocable Trust U/A/D March 17, 2009 (hereinafter the “Children’s

Trust”).

         39.    On March 23, 2017, Howey executed an Acceptance of Appointment of

Independent Trustee, accepting his appointment of Independent Trustee of the Children’s

Trust.

         40.    Hereinafter, the Family Trust and the Children’s Trust will be referred to as

the “Trusts.”




                                              8

           Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 8 of 38
         41.   The Trusts own interests in numerous companies that Mr. Hawthorne owns,

operates and/or manages.

         42.   The Trusts had a significant interest in KLH and Rivercross.

         43.   In April, 2017, Mr. Hawthorne was involved in a serious automobile accident

resulting in Mr. Hawthorne spending 10+ months in the hospital, undergoing more than

50 significant surgeries.

         44.   As a result of Mr. Hawthorne’s incapacity, Howey became Mr. Hawthorne’s

Agent.

         45.   Howey, acting in Mr. Hawthorne’s stead and in the place of Mr. Hawthorne,

became the Manager for KLH, Rivercross and Rufus and acted as Manager for those

companies.     Howey has admitted and acknowledged that he acted as and was the

Manager for KLH, Rivercross and Rufus.

         46.   On March 17, 2017, Howey, acting in his capacity as either Independent

Trustee and/or Agent operating as Attorney-in-Fact under the POA (hereinafter, Howey’s

actions as Agent and/or Independent Trustee will be referred to as “Fiduciary”), loaned

CG $575,000.00. The $575,000 loan was given to CG in the form of a check drawn on

KLH’s account.     The $575,000 loan was secured by a Promissory Note identifying

Rivercross as the Lender, maturing on March 28, 2017 and guaranteed by J. Callahan.

         47.   GS gave Rivercross a check (number 8448) to repay the $575,000 loan.

Check number 8448 was returned for NSF. The $575,000 loan has not been repaid.

         48.   Despite the fact that the $575,000 loan was not repaid as required, on April

10, 2017, Howey, acting in his capacity as Fiduciary, loaned HTR $400,000. The $400,000


                                             9

         Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 9 of 38
loan was given to HTR in the form of wire from KLH’s account. The $400,000 loan was

secured by a Promissory Note identifying Rivercross as the Lender, maturing on April 24,

2017 and guaranteed by J. Callahan and CG.

      49.    GS gave Rivercross a check (number 8449) to repay the $400,000 loan.

Check number 8449 was returned for NSF. The $400,000 loan has not been repaid.

      50.    Despite the fact that the $575,000 and $400,000 loans were not repaid as

required, on May 1, 2017, Howey, acting in his capacity as Fiduciary, loaned CG another

$550,000.00. The $550,000 loan was given to CG in the form of check drawn on KLH’s

account. The $550,000 loan was secured by a Promissory Note identifying Rivercross as

the Lender, maturing on June15, 2017 and guaranteed by J. Callahan and CG.

      51.    CG gave KLH a check (number 23908) to repay the $550,000 loan. Check

number 23908 was returned for NSF. The $550,000 loan has not been repaid.

      52.    Despite the fact that the $575,000, $400,000 and $550,000 loans were not

repaid as required, on May 12, 2017, Howey, acting in his capacity as Fiduciary, loaned

CG another $475,000.00. The $475,000 loan was given to CG in the form of check drawn

on KLH’s account. The $475,000 loan was secured by a Promissory Note identifying

Rivercross as the Lender, maturing on July11, 2017 and guaranteed by J. Callahan and

CG.

      53.    GS gave Rivercross a check (number 8450) to repay the $475,000 loan.

Check number 8450 was returned for NSF. The $475,000 loan has not been repaid.

      54.    Despite the fact that the $575,000, $400,000, $550,000 and $475,000 loans

were not repaid as required, on May 15, 2017, Howey, acting in his capacity as Fiduciary,


                                           10

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 10 of 38
loaned CG another $456,000.00. The $456,000 loan was given to CG in the form of check

drawn on KLH’s account.     The $456,000 loan was secured by a Promissory Note

identifying Rivercross as the Lender, maturing on May 19, 2017 and guaranteed by J.

Callahan and CG.

      55.    GS gave Rivercross a check (number 8451) to repay the $456,000 loan.

Check number 8451 was returned for NSF. The $456,000 loan has not been repaid.

      56.    Despite the fact that the $575,000, $400,000, $550,000, $475,000 and

$456,000 loans were not repaid as required, on May 23, 2017, Howey, acting in his

capacity as Fiduciary, loaned CG another $430,000.00. The $430,000 loan was given to

CG in the form of check drawn on KLH’s account. The $430,000 loan was secured by a

Promissory Note identifying Rivercross as the Lender, maturing on July 7, 2017 and

guaranteed by J. Callahan and CG.

      57.    GS gave Rivercross a check (number 8452) to repay the $430,000 loan.

Check number 8452 was returned for NSF. The $430,000 loan has not been repaid.

      58.    Despite the fact that the $575,000, $400,000, $550,000, $475,000,

$456,000 and $430,000 loans were not repaid as required, on June 20, 2017, Howey,

acting in his capacity as Fiduciary, loaned CG another $600,000.00. The $600,000 loan

was given to CG in the form of check drawn on KLH’s account. The $600,000 loan was

secured by a Promissory Note identifying Rivercross as the Lender, maturing on August

19, 2017 and guaranteed by J. Callahan and GS. The $600,000 loan has not been repaid.

      59.    Despite the fact that the $575,000, $400,000, $550,000, $475,000,

$456,000, $430,000 and $600,000 loans were not repaid as required, on July 12, 2017,


                                         11

      Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 11 of 38
Howey, acting in his capacity as Fiduciary, loaned HTR another $585,000.00.            The

$585,000 loan was given to HTR in the form of a wire from KLH’s account. The $585,000

loan was secured by a Promissory Note identifying Rivercross as the Lender, maturing on

August 9, 2017 and guaranteed by J. Callahan and HTR. The $585,000 loan has not been

repaid.

      60.      Despite the fact that the $575,000, $400,000, $550,000, $475,000,

$456,000, $430,000, $600,000 and $585,000 loans were not repaid as required, on July

12, 2017, Howey, acting in his capacity as Fiduciary, loaned HTR another $385,000.00.

The $385,000 loan was given to HTR in the form of a wire from KLH’s account. The

$385,000 loan was secured by a Promissory Note identifying Rivercross as the Lender,

maturing on August 17, 2017 and guaranteed by J. Callahan and HTR. The $385,000

loan has not been repaid.

      61.      As of the filing of this Complaint, the $4,456,000 of Plaintiffs’ money that

Howey, as a fiduciary, loaned to the entities identified above, has not been repaid.

      62.      On September 27, 2017, CG, HTR and J. Callahan executed an Agreement,

wherein CG, HTR and J. Callahan memorialized its promise to Rivercross that they would

repay Rivercross the $575,000, $400,000, $550,000, $475,000, $456,000, $430,000,

$600,000, $585,000 and $385,000 loans referenced in paragraph 36-50 above. Pursuant

to the Agreement, CG, HTR and J. Callahan promised to repay the debt on the following

payment schedule: $100,000 per week starting on Friday, September 29, 2017 and

continuing on each successive Wednesday for 50 additional payments, for a cumulative

total of $5,100,000.00 towards the total amount of $5,369,402.52; and a final payment


                                            12

          Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 12 of 38
of $269,402.52 by Thursday, September 27, 2018. As of the drafting of this Amended

Complaint, CG, HTR and J. Callahan have not made any payments pursuant to their

promises set forth in the Settlement Agreement.

       63.    On November 8, 2019, Hawthorne learned for the first time that between

May 23, 2017 and July 25, 2017, J. Callahan, individually or through one of his entities

(CG, GS, GS Carolinas and/or HTR), transferred to Howey or one of his entities nearly

$17 million, as follows:

              (a)      GS Carolinas and GS transferred the following funds (the “Grinding

                    Transfers”) to the following Defendants:

                       A.     To Howey: $3,592,500.00.
                       B.     To Howey Co.: $3,309,000.00.
                       C.     To Camden: $1,720,000.00.
                       D.     To STGE: $1,424,000.00.
                       E.     To Deepe: $740,000.00.
                       F.     To FM: $525,000.00.
                       G.     To HTR: $605,000.00
                              Total – $11,915,500.00

              (b) CG transferred the following funds (the “CG Transfers”) to the following

                    Defendants:

                       A.     To Howey: $1,168,240.00
                       B.     To Howey Co.: $250,000.00
                       C.     To HTR: $3,078,816.63
                       D.     To STGE: $285,000.00
                       E.     Total - $4,782,056.63


       64.    The Grinding Transfers and CG Transfers were within the two years

immediately preceding the filing of Debtors bankruptcies.




                                             13

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 13 of 38
      65.      Upon Information and belief, Defendants conspired together to orchestrate

the Grinding Transfers and the CG Transfers to facilitate the eventual transfer of funds

to the Howey Defendants.

      66.      Upon information and belief, the Debtors (individually or through another

Callahan entity) did not receive consideration for either the Grinding Transfers or CG

Transfers and did not owe any obligation to Howey, The Howey Co., Camden, STGE,

Deepe, HTR, and/or FM.

      67.      Upon information and belief, the Grinding Transfers and CG Transfers were

for the benefit of the insiders of the Debtors or other entities and not for the benefit of

the Debtors.

      68.      Upon information and belief, the Debtors owed certain creditors during the

periods of the Grinding Transfers and CG Transfers, included on the bankruptcy schedules

of the Debtors, which the Debtors still owe today.

      69.      Upon information and belief, the Debtors were insolvent during the two

years immediately preceding the filing of their bankruptcies in that their liabilities

exceeded their assets and they were unable to pay their debts as they became due.

      70.      Upon information and belief, the Defendants are insiders of the Debtors.

      71.      Upon information and belief, at least $4,456,000 of the Grinding Transfers

and CG Transfers which J. Callahan and/or his entities transferred to Howey and/or

Howey’s entities, came from the loans Howey made on behalf of KLH and/or Rivercross

to J. Callahan and/or his companies.




                                            14

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 14 of 38
        72.   Howey, The Howey Co., Camden, STGE, Deepe, HTR and/or FM knowingly

accepted the Grinding Transfers and CG Transfers from J. Callahan and/or one of his

entities, knowing that those funds were coming from the loans J. Callahan owed to KLH

and/or Rivercross but did not satisfy. In short, Howey, while acting as a fiduciary to

Hawthorne, and by extension KLH and Rivercross, accepted money from J. Callahan that

rightly belonged to KLH and/or Rivercross, at a time he was acting as Manager for KLH

and/or Rivercross and owed KLH and Rivercross a fiduciary duty. Hawthorne, KLH and

Rivercross first learned of this conduct giving rise to a breach of fiduciary duty on

November 8, 2019.

        73.   Upon information and belief, Howey manages the day to day operations of

Howey Co.

        74.   Upon information and belief, Howey manages the day to day operations of

Camden.

        75.   Upon information and belief, Howey manages the day to day operations of

STGE.

        76.   Upon information and belief, Howey manages the day to day operations of

Deepe.

        77.   Upon information and belief, Howey manages the day to day operations of

FM.

        78.   Upon information and belief, Howey operates Howey Co. without regard to

any corporate formalities.




                                         15

         Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 15 of 38
       79.    Upon information and belief, Howey operates Camden without regard to

any corporate formalities.

       80.    Upon information and belief, Howey operates STGE without regard to any

corporate formalities.

       81.    Upon information and belief, Howey operates Deepe without regard to any

corporate formalities.

       82.    Upon information and belief, Howey operates FM without regard to any

corporate formalities.

       83.    Upon further information and belief, Howey exercised complete dominion

and control over Howey Co. and used that dominion and control to perpetrate a wrong.

Plaintiffs have been directly and proximately harmed by such dominion and control.

       84.    Upon further information and belief, Howey exercised complete dominion

and control over Camden and used that dominion and control to perpetrate a wrong.

Plaintiffs have been directly and proximately harmed by such dominion and control.

       85.    Upon further information and belief, Howey exercised complete dominion

and control over STGE and used that dominion and control to perpetrate a wrong.

Plaintiffs have been directly and proximately harmed by such dominion and control.

       86.    Upon further information and belief, Howey exercised complete dominion

and control over Deepe and used that dominion and control to perpetrate a wrong.

Plaintiffs have been directly and proximately harmed by such dominion and control.




                                          16

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 16 of 38
       87.    Upon further information and belief, Howey exercised complete dominion

and control over FM and used that dominion and control to perpetrate a wrong. Plaintiffs

have been directly and proximately harmed by such dominion and control.

       88.    Upon information and belief, Howey Co. is inadequately capitalized.

       89.    Upon information and belief, Camden is inadequately capitalized.

       90.    Upon information and belief, STGE is inadequately capitalized.

       91.    Upon information and belief, Deepe is inadequately capitalized.

       92.    Upon information and belief, FM is inadequately capitalized.

       93.    Upon information and belief, and at all times relevant to the events

described herein, Howey, Howey Co., Camden, STGE, Deepe and FM were alter egos of

each other and each permitted the other to act in the manner it did. As such, Howey,

Howey Co., Camden, STGE, Deepe and FM should not be entitled to hide behind the

corporate form and should instead be held jointly and severally liable for the conduct

described herein.

       94.    Howey, Howey Co., Camden, STGE, Deepe and FM are also personally liable

for the tortious conduct and statutory violations based on their individual participation in

those activities.

       95.    Acting as Mr. Hawthorne and therefore as manager for Rivercross and KLH,

Howey, individually and through Howey Co., Camden, STGE, Deepe and/or FM, owed Mr.

Hawthorne, KLH and Rivercross a fiduciary duty.

       96.    Howey, Howey Co., Camden, STGE, Deepe and FM’s conduct, as described

herein, amounts to self-dealing and breaches of their fiduciary duties.


                                            17

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 17 of 38
      97.    In mid-January, 2020, Mr. Hawthorne, for himself, KLH and Rivercross,

made demand upon Howey, Howey Co., Camden, STGE, Deepe, FM, J. Callahan, and

HTR that they repay KLH and/or Rivercross the $4,456,000.

      98.    Howey, Howey Co., Camden, STGE, Deepe, FM, J. Callahan, and HTR have

refused to pay KLH and/or Rivercross the $4,456,000 demanded.

      99.    Upon information and belief, Beverly Callahan did not participate in the

alleged conduct described herein, nor did she have knowledge of the same.

      100.   Upon information and belief, Harry J. Callahan did not participate in the

alleged conduct described herein, nor did he have knowledge of the same.

      101.   The conduct described above is in or effecting commerce.

      102.   The conduct described above constitutes a conversion of KLH’s and/or

Rivercross’ property.

      103.   Mr. Hawthorne, KLH and Rivercross have been damaged as a direct and

proximate result of the conduct described above.

                                RUFUS ROAD FRAUD

      104.   Howey, while acting in his fiduciary capacity and as Manager for Rufus,

along with J. Callahan, entered into a scheme to defraud Rufus.

      105.   While acting as Manager for Rufus, Howey executed a contract on behalf of

Rufus Road, wherein J. Callahan and CG agreed to perform certain grading work on the

Rufus Road property. The initial value of the contract was in excess of $4,000,000.00.

      106.   Howey, Callahan and CG executed a contract for the grading work.




                                          18

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 18 of 38
      107.   Before Callahan and/or CG performed any work, Howey, as Rufus Road’s

Manager, and Callahan amended the contract from $4,000,000 to $3,000,000 (for the

same scope of work)., In exchange for this $1,000,000 reduction, J. Callahan requested,

and Howey agreed, to advance Callahan and CG the $3,000,000.             This $3,000,000

advance occurred before any work was performed.

      108.   On or around June 25, 2017, Howey delivered a check drawn on KLH’s

account made payable to J. Callahan in the amount of $3,000,000 as prepayment for

CG’s alleged work. Mr. Hawthorne and Rufus learned of the $1,000,000 reduction to the

contract in exchange for a $3,000,000 pre-payment, after November 8, 2019.

      109.   At the time that Howey delivered the $3,000,000 to J. Callahan, J. Callahan

had no money in his bank account and had significant financial obligations to creditors.

      110.   J. Callahan and Howey entered into a scheme, wherein Howey advanced

$3,000,000 of KLH’s funds to J. Callahan, and J. Callahan then diverted a portion of KLH’s

$3,000,000 to Howey and/or a Howey entity. Mr. Hawthorne and Rufus learned of this

scheme after November 8, 2019.

      111.   After November 8, 2019, Mr. Hawthorne and Rufus learned that J. Callahan

and/or his companies did not perform $3,000,000 worth of work to the Rufus property.

      112.   In addition to diverting a portion of KLH’s $3,000,000 to Howey and/or a

Howey entity, and despite receiving the $3,000,000.00 for prepayment of services,

Howey, Callahan and CG conspired to use approximately $1,798,400.00 of the $3,000,000

for their own purposes, unrelated to improvement of the Rufus Road property. Mr.

Hawthorne and Rufus did not learn of this until after November 8, 2019.


                                           19

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 19 of 38
                         FIRST CLAIM FOR RELIEF
 [Breach of Fiduciary Duty – Howey, Howey Co., Camden, STGE, Deepe, FM]

       113.     Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

       114.     Mr. Hawthorne was the manager for KLH, Rivercross and Rufus Road.

When Howey acted for Mr. Hawthorne (as Agent and/or Independent Trustee) on behalf

of KLH, Rivercross and/or Rufus, Howey acted as a manager for those entities and owed

those entities a fiduciary duty.

       115.     Under oath, Howey admits that he acted as Manager for the LLC; stating

that: (i) “[a]s Manager of LLCs,-I had day-to-day businesses I had to – I had to administer

on some of them;” (ii) “But yes, I did, as a Manager I did – I did that. I did take action…;”

(III) “I dealt with things having to do with the -- as Manager of the entities…;” (iv) “I

mean, there was something different all the time and we took action. I don’t know exactly

– but typically most of them were as Manager in just normal course of business;” (v)

While I was Manager, like I sold the tennis piece…;” (vi) I signed [business documents]

as Manager of individual entities.”

       116.     Mr. Hawthorne, KLH, Rivercross and Rufus Road reposed a special trust and

confidence in Howey, who in equity and good conscience, individually and on behalf of

Howey Co., Camden, STGE, Deepe and FM, was bound to act in good faith and with due

regard for Mr. Hawthorne, KLH, Rivercross and Rufus Road’s interests.

       117.     As a result of the POA and as an Independent Trustee, a special duty exists

between Howey and Mr. Hawthorne, KLH, Rivercross and Rufus Road (as well as Mr.

Hawthorne’s other entities).

                                               20

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 20 of 38
        118.   Mr. Hawthorne, KLH, Rivercross and Rufus Road have suffered injuries, as

more particularly described above. As a member of KLH, Rivercross and Rufus, Mr.

Hawthorne is directly damaged by Howey (and/or his entities) diverting money from KLH,

Rivercross and Rufus.

        119.   Howey breached his fiduciary duties to Mr. Hawthorne, KLH, Rivercross and

Rufus Road by accepting money from J Callahan (and/or his companies) that should have

been paid to Mr. Hawthorne, KLH, Rivercross and/or Rufus. Howey and his companies

accepted this money during the time that Howey was a Manager for KLH, Rivercross

and/or Rufus, and therefore should have been looking out for the best interests of KLH,

Rivercross and/or Rufus. This conduct was not discovered until on or after November 8,

2019.

        120.   Howey’s conduct in breach of his fiduciary obligations, was taken for

Howey’s own benefit and to the detriment of, at least, Mr. Hawthorne, KLH, Rivercross

and Rufus Road.

        121.   As a direct and proximate result of the breaches of their fiduciary duties as

alleged and set-forth above, Mr. Hawthorne, KLH, Rivercross and Rufus Road have been

damaged in an amount to be determined at trial.

        122.   Howey’s breaches of his fiduciary duties were malicious, intentional, willful,

and done with a reckless and wanton disregard for Mr. Hawthorne, KLH, Rivercross and

Rufus Road. Mr. Hawthorne, KLH, Rivercross and Rufus Road are, therefore, entitled to

recover punitive damages from Howey pursuant to N.C. Gen. Stat. §§ 1D-1, et seq.




                                             21

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 21 of 38
                             SECOND CLAIM FOR RELIEF
         [Constructive Fraud – Howey, Howey Co., Camden, STGE, Deepe, FM]

          123.   Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

          124.   As described above, Mr. Hawthorne, KLH, Rivercross and Rufus Road (on

the one hand) and Howey (on the other hand) are in relationships of trust and confidence,

wherein Howey owes Mr. Hawthorne, KLH, Rivercross and Rufus Road a fiduciary duty.

          125.   While in a position of trust and confidence to Mr. Hawthorne, KLH,

Rivercross and Rufus, Howey, for himself and his companies, created circumstances that

lead up to and surrounded the transactions complained of herein.

          126.   Howey breached his fiduciary duty to Mr. Hawthorne, KLH, Rivercross and

Rufus Road, and sought to benefit himself (and his companies) to the detriment of Mr.

Hawthorne, KLH, Rivercross and Rufus Road.

          127.   To the extent Howey used his companies, Howey Co., Camden, STGE,

Deepe and FM, as described above to facilitate the actions giving rise to his breach of his

fiduciary duties, these companies participated, aided, and abetted these breaches and

such conduct constitutes a constructive fraud.

          128.   Such conduct constitutes a constructive fraud.

          129.   As a direct and proximate result of the constructive fraud, Mr. Hawthorne,

KLH, Rivercross and Rufus Road have been damaged in an amount to be determined at

trial.

          130.   The constructive fraud was malicious, intentional, willful, and done with a

reckless and wanton disregard for Mr. Hawthorne, KLH, Rivercross and Rufus Road’s

                                                22

          Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 22 of 38
rights. Mr. Hawthorne, KLH, Rivercross and Rufus Road are therefore entitled to recover

punitive damages from Howey pursuant to N.C. Gen. Stat. §§ 1D-1, et seq.

                         THIRD CLAIM FOR RELIEF
 [Piercing the Corporate Veil/Alter Ego – Howey, Howey Co., Camden, STGE,
                                 Deepe, FM]

       131.     Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

       132.     Upon information and belief, Howey exercises complete dominion and

control over Howey Co., Camden, STGE, Deepe and FM, and has discretion to make

decisions on behalf of Howey Co., Camden, STGE, Deepe and FM.

       133.     Upon information and belief, Howey Co., Camden, STGE, Deepe and FM

and Howey are the alter egos of each other and the corporate entities have no separate

mind, will, or existence of their own.

       134.     As described above, Howey used his dominion and control to commit fraud,

violate legal duties, and otherwise harm Mr. Hawthorne, KLH, Rivercross and Rufus Road.

       135.     Howey’s dominion and control over Howey Co., Camden, STGE, Deepe and

FM is a direct and proximate cause of Mr. Hawthorne, KLH, Rivercross and Rufus Road’

injuries.

       136.     Because Howey, Howey Co., Camden, STGE, Deepe and FM’s actions are

indistinguishable, Mr. Hawthorne, KLH, Rivercross and Rufus Road are entitled to pierce

the corporate veil and hold Howey personally liable for the actions carried out under the

corporate names - Howey Co., Camden, STGE, Deepe and FM, all of whom are jointly

and severally liable for each other’s conduct.


                                               23

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 23 of 38
                               FOURTH CLAIM FOR RELIEF
                              [Conversion - All Defendants]

        137.    Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

        138.    Defendants’ actions as described above constitute a conversion of Plaintiffs’

property and constitute an unauthorized assumption and exercise of ownership rights

over Plaintiffs’ property, which undoubtedly and knowingly belongs to Plaintiffs.

Hawthorne, KLH, Rivercross and Rufus Road did not learn of this conversion until

November 8, 2019.

        139.    Plaintiffs made demand upon all Defendants that they deliver to Plaintiffs

the money converted as described above, but all Defendants have refused.

        140.    Defendants’ actions constitute a conversion of Plaintiffs’ property.

        141.    Defendants’ conversion of Plaintiffs’ property is to the exclusion of Plaintiffs,

preventing Plaintiffs from asserting their right of ownership and possession over the

same.

        142.    As a direct and proximate result of Defendants’ conversion, Plaintiffs have

been damaged in an amount to be determined at trial.

        143.    Defendants’ conversion is and was malicious, intentional, willful, and with a

reckless and wanton disregard of Plaintiffs’ rights. Plaintiffs are therefore entitled to

recover punitive damages from Defendants, jointly and severally, pursuant to North

Carolina General Statute §1D-1, et seq.




                                               24

        Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 24 of 38
                                 FIFTH CLAIM FOR RELIEF
                [Facilitation of Fraud/Civil Conspiracy – All Defendants]

         144.    Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

         145.    Upon information and belief, Defendants undertook and agreed to defraud

Plaintiffs as described above.

         146.    Defendants committed overt and tortious acts in furtherance of the

agreement.

         147.    Plaintiffs have suffered damages as a direct and proximate result of

Defendants’ facilitation of fraud and civil conspiracy in an amount to be determined at

trial.

                                 SIXTH CLAIM FOR RELIEF
                         [Breach of Contract – J. Callahan and HTR]

         148.    Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

         149.    As described more fully above, J. Callahan and HTR entered into valid and

enforceable Promissory Notes with KLH and/or Rivercross.

         150.    The Promissory Notes were entered into for good and valuable

consideration and the parties mutually assented to the terms through offer and

acceptance so as to establish a meeting of the minds.

         151.    KLH and Rivercross fulfilled all of their material obligations under the

Promissory Notes.

         152.    J. Callahan and HTR breached the Promissory Notes.


                                                25

         Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 25 of 38
      153.      The reason these defendants breached the Promissory Notes is because of

the transfers as outlined below. The Grinding Transfers and CG Transfers left CG, GS

and GS Carolinas insolvent and unable to pay their obligations, resulting in their

bankruptcies.

      154.      As a direct and proximate result of J. Callahan and HTR breaches, KLH and

Rivercross have been damaged in an amount to be determined at trial, but believed to

exceed $4,456,000.00.

                        SEVENTH CLAIM FOR RELIEF
[Setting Aside of Fraudulent Conveyance Pursuant to 11 U.S.C. § 544 and S.C.
 CODE ANN. § 27-23-10 for Transfer Made Without Valuable Consideration –
             Howey, Howey Co., Camden, STGE, Deepe, FM, HTR]

      155.      Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein, and the Bankruptcy Trustees specifically state as follows:

      156.      CG, GS and GS Carolinas are South Carolina entities whose principal place

of business is in South Carolina. The liquid assets of CG, GS and GS Carolinas are located

in South Carolina. Thus, as to CG, GS and GS Carolinas, South Carolina law is the

appropriate choice of law governing their transactions.

      157.      Under South Carolina Law:

                    Every gift, grant, alienation, bargain, transfer, and conveyance of lands
                    ... goods and chattels or any of them, ... which may be had or made
                    ... for any intent or purpose to delay, hinder, or defraud creditors and
                    others of their just and lawful actions, suits, debts, accounts, damages,
                    penalties, and forfeitures must be deemed and taken (only as against
                    that person or persons, his or their heirs, successors, executors,
                    administrators and assigns ... ) to be clearly and utterly void ... and of
                    no effect, ... any other matter or thing to the contrary notwithstanding.

S.C. CODE ANN. § 27-23-10 (emphasis added).


                                               26

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 26 of 38
       158.   This section of the South Carolina Code is often referred to as the Statute

of Elizabeth. The basic principle of the Statute of Elizabeth is that one must do equity

before one can be generous.

       159.   In this case, GS voluntarily transferred the Grinding Transfers to Howey,

Howey Co., Camden, STGE, Deepe, FM, and HTR, and CG voluntarily transferred the CG

Transfers to Howey, Howey Co., HTR, and STGE for inadequate consideration.

       160.   Under South Carolina law, the South Carolina Supreme Court has held as

follows:

              We have held that under [the Statute of Elizabeth], conveyances shall be
              set aside under two conditions: First, where the transfer is made by the
              grantor with the actual intent of defrauding his creditors where that intent
              is imputable to the grantee, even though there is a valuable consideration;
              and, second, where a transfer is made without actual intent to defraud the
              grantor's creditors, but without consideration.... If the transfer was not
              made on a valuable consideration, no actual intent to hinder or delay
              creditors needs be proven. Windsor Props., Inc. v. Dolphin Head Constr.
              Co., 331 S.C. 466, 470–71, 498 S.E.2d 858, 860 (1998).

       161.   Pursuant to the Statute of Elizabeth, conveyances may be set aside when

there is inadequate consideration. In this case, Howey, Howey Co., Camden, STGE,

Deepe, FM, and HTR received the Grinding Transfers and Howey, Howey Co, HTR and

STGE received the CG Transfers for no consideration flowing back to the Debtors.

       162.   The Grinding Transfers and CG Transfers were made while the Debtors

were insolvent or rendered the Debtors insolvent.

       163.   At all times during which the Grinding Transfers and CG Transfers were

made, the Debtors were indebted to other existing creditors as included on the

bankruptcy schedules of the Debtors or pursuant to proofs of claim filed in GG’s


                                           27

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 27 of 38
bankruptcy case, GS’s bankruptcy case, and GS Carolina’s bankruptcy case.

      164.   Such existing creditors remain unpaid and have allowable unsecured claims

in the Debtors’ bankruptcy cases.

      165.   The Debtors failed to retain sufficient property to pay the indebtedness

owing to their existing creditors.

      166.   Even if the Defendants were to show that they paid consideration over and

above the consideration as reflected in the bank accounts, the Grinding Transfers and

CG Transfers should still be set aside as transfers done with actual intent of defrauding

creditors.

      167.   To show actual intent, the Courts rely upon “badges” of fraud. In this case,

the badges include, but are not limited to: (a) the Grinding Transfers and CG Transfers

were done by Debtors to insiders or by insiders for the benefit of the insiders, (b) there

was no or inadequate consideration paid, (c) the Grinding Transfers and CG Transfers

were when the Debtors were insolvent, (d) the Debtors were under pressure from

creditors at the time of the Grinding Transfers and CG Transfers and (e) the Grinding

Transfers and CG Transfers left the Debtors with insufficient assets to pay their debts as

they became due.

      168.   This Court should set aside the Grinding Transfers and CG Transfers as

fraudulent conveyances pursuant to S.C. CODE ANN. § 27-23-10 and 11 U.S.C. § 544.

                       EIGHTH CLAIM FOR RELIEF
[Fraudulent Conveyance Under 11 USC § 548 and § 550 – Howey, Howey Co.,
                    Camden, STGE, Deepe, FM, HTR]

      169.   Plaintiffs restate and reallege the allegations contained above as if fully set


                                            28

      Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 28 of 38
forth herein, and the Bankruptcy Trustees specifically state as follows:

       170.   Pursuant to 11 U.S.C. § 548(a)(1)(B), any transfer of an interest of the

debtor in property that was made or incurred on or within 2 years before the date of the

filing of the petition may be voided, if the debtor voluntarily or involuntarily received less

than a reasonably equivalent value in exchange for such transfer or obligation; and

                     a.     was insolvent on the date that such transfer was made or such
                     obligation was incurred, or became insolvent as a result of such
                     transfer or obligation;
                     b.     was engaged in business or a transaction, or was about to
                     engage in business or a transaction, for which any property
                     remaining with the debtor was an unreasonably small capital;
                     c.     intended to incur, or believed that the debtor would incur,
                     debts that would be beyond the debtor's ability to pay as such debts
                     matured; or
                     d.     made such transfer to or for the benefit of an insider or
                     incurred such obligation to or for the benefit of an insider, under an
                     employment contract and not in the ordinary course of business.

       171.   GS, while insolvent or rendered insolvent as a result thereof, did, within two

years of the filing of the above-mentioned petitions in bankruptcy, voluntarily and

without adequate consideration, make the Grinding Transfers to Howey, Howey Co.,

Camden, STGE, Deepe, FM, and HTR. Further, CG, while insolvent or rendered insolvent

as a result thereof, did, within two years of the filing of the above-mentioned petitions

in bankruptcy, voluntarily and without adequate consideration, make the CG Transfers

to Howey, Howey Co., HTR, and STGE.

       172.   Some of the Grinding Transfers and CG Transfers to Howey, Howey Co,

Camden, STGE, Deepe and FM were indirect transfers, after a fraudulent transfer to

another entity that facilitated the eventual transfer to Howey, Howey Co, Camden, STGE,

Deepe and FM. For example, included in the Grinding Transfers and CG Transfers are

                                             29

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 29 of 38
transfers to HTR. HTR would then transfer funds to Howey, Howey Co, Camden, STGE,

Deepe and FM. Such transfers can be set aside from the eventual recipient pursuant to

11 U.S.C. §550 because the eventual recipient did not take the funds in good faith

without knowledge of the initial fraudulent transfer.

      173.   The Debtors received less than reasonably equivalent value in exchange for

the Grinding Transfers and CG Transfers.

      174.   Further, upon information and belief and pursuant to 11 U.S.C. §

548(a)(1)(A), the Debtors made the Grinding Transfers and CG Transfers with actual

intent to hinder, delay, and defraud their creditors.

      175.   The conveyed funds are not exempt from execution and liability for debts

by the law of South Carolina; that, by virtue of the bankruptcy laws of the United States,

the transferred funds, by reason of the above-described fraudulent nature of the

Grinding Transfers and CG Transfers, remained a part of the assets and estate of

Debtors, and passed to the Bankruptcy Trustees.

      176.   In receiving the Grinding Transfers and CG Transfers, Howey, Howey Co.,

Camden, STGE, Deepe, FM, and HTR, and Howey, Howey Co., HTR, and STGE,

respectively, did not take "for value and in good faith" within the meaning of 11 U.S.C.

§ 548(c). Specifically, Howey, Howey Co., Camden, STGE, Deepe, FM, and HTR knew,

or should have known, at the time of the Grinding Transfers, of GS’s insolvency, since

such defendants were insiders of GS and should have been aware of the financial

condition of GS. Further, Howey, Howey Co., HTR, and STGE knew, or should have

known, at the time of the CG Transfers, of CG’s insolvency, since such defendants were


                                           30

      Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 30 of 38
insiders of CG and should have been aware of the financial condition of CG. Howey,

Howey Co., Camden, STGE, Deepe, FM, and HTR did not give value to GS in exchange

for the Grinding Transfers. Howey, Howey Co., HTR, and STGE did not give value to CG

in exchange for the CG Transfers.

      177.   The Grinding Transfers and CG Transfers constitute a fraudulent transfer of

the Debtors’ assets which they transferred in order to hinder, delay and defraud

creditors.

      178.   Pursuant to 11 U.S.C. § 548, the GC Trustee may recover from Howey,

Howey Co., Camden, STGE, Deepe, FM, and HTR the amount of the Grinding Transfers

for the benefit of GS and GS Carolinas’ estate. Further, pursuant to 11 U.S.C. § 548, the

CG Trustee may recover from Howey, Howey Co., HTR, and STGE the amount of the CG

Transfers for the benefit of CG’s estate

      179.   The Bankruptcy Trustees request that this Court set aside the Grinding

Transfers and CG Transfers as fraudulent conveyances pursuant to 11 U.S.C. § 548.

                         NINTH CLAIM FOR RELIEF
 [Recovery of Avoided Transfers and Judgment against Defendants for Value
of Fraudulent Conveyance Pursuant to 11 U.S.C. § 550(a)(1) – Howey, Howey
                   Co., Camden, STGE, Deepe, FM, HTR]

      180.   Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein, and the Bankruptcy Trustees specifically state as follows

      181.   The Grinding Transfers and CG Transfers should be voided pursuant to S.C.

CODE ANN. § 27-23-10 and 11 U.S.C. §§ 544, 548.

      182.   Howey, Howey Co., Camden, STGE, Deepe, FM, and HTR were the initial

transferees of the Grinding Transfers, or the entities for whose benefit the Grinding

                                            31

      Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 31 of 38
Transfers were made. Howey, Howey Co., HTR, and STGE were the initial transferees

of the CG Transfers, or the entities for whose benefit the CG Transfers were made.

       183.     Pursuant to 11 U.S.C. § 550(a), the GC Trustee is entitled to recover the

Grinding Transfers from Howey, Howey Co., Camden, STGE, Deepe, FM, and HTR and

is entitled to a judgment against such defendants for the value of the funds transferred

to them. Pursuant to 11 U.S.C. § 550(a), the CG Trustee is entitled to recover the CG

Transfers from Howey, Howey Co., HTR, and STGE and is entitled to a judgment against

such defendants for the value of the funds transferred to them.

       184.     Pursuant to the analysis of the bank accounts, the value of the funds

transferred to Howey, Howey Co., Camden, STGE, Deepe, FM, and HTR is the amount

of the Grinding Transfers and the value of the funds transferred to Howey, Howey Co.,

HTR, and STGE is the amount of the CG Transfers.

                          TENTH CLAIM FOR RELIEF
     [Racketeering, Influenced and Corrupt Organizations Act Claim – All
                                Defendants]

       185.     Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

       186.     As a result of Defendants’ actions as described above, Plaintiffs suffered

injury or damage to their business or property by reason of two or more acts of organized

unlawful activity or conduct engaged in by the Defendants.

       187.     Defendants engaged in a pattern of racketeering activity, the racketeering

activity was continuous, and the activity included at least two (2) predicate acts.




                                               32

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 32 of 38
       188.     At least one of Defendants’ acts are or were something other than mail

fraud, wire fraud, or fraud in the sale of securities.

       189.     Defendants’ actions and conduct as described above has resulted in

pecuniary gain to the Defendants, causing significant damages to the Plaintiffs.

                           ELEVENTH CLAIM FOR RELIEF
              [Unfair and Deceptive Trade Practices – All Defendants]

       190.     Plaintiffs restate and reallege the allegations contained above as if fully set

forth herein.

       191.     As described above, the actions constitute unfair and/or deceptive trade

practices as those terms are used in N.C. Gen Stat. § 75-1, et seq.

       192.     The conduct complained of were in and affecting commerce, as that term

is used in N.C. Gen Stat. §§ 75-1, et seq.

       193.     Defendants’ unfair and/or deceptive acts or practices are the direct and

proximate cause of the injuries complained of.

       194.     Plaintiffs have been damaged by Defendants’ unfair and/or deceptive trade

practices in an amount to be determined at trial.

       195.     The damages should be trebled pursuant to N.C. Gen. Stat. § 75-16, and

Plaintiffs should be awarded their costs and attorneys’ fees pursuant to N.C. Gen. Stat. §

75-16.1.

                                   PRAYER FOR RELIEF

       1.       Plaintiffs pray that the Court enter a judgment in their favor on the following

claims against the following Defendants:



                                               33

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 33 of 38
                    Breach of Fiduciary Duty against Howey, Howey Co., Camden, STGE,
                     Deepe, FM;
                    Constructive Fraud against Howey, Howey Co., Camden, STGE,
                     Deepe, FM;
                    Piercing the Corporate Veil/Alter Ego against Howey, Howey Co.,
                     Camden, STGE, Deepe, FM;
                    Conversion against all Defendants;
                    Facilitation of Fraud/Civil Conspiracy against all Defendants;
                    Breach of Contract against J. Callahan and HTR;
                    Setting Aside of Fraudulent Conveyance Pursuant to 11 U.S.C. § 544
                     and S.C. CODE ANN. § 27-23-10 for Transfer Made Without Valuable
                     Consideration against Howey, Howey Co., Camden, STGE, Deepe,
                     FM, HTR;
                    Fraudulent Conveyance Under 11 USC § 548 and § 550 against
                     Howey, Howey Co., Camden, STGE, Deepe, FM, HTR;
                    Recovery of Avoided Transfers and Judgment against Defendants for
                     Value of Fraudulent Conveyance Pursuant to 11 U.S.C. § 550(a)(1)
                     against Howey, Howey Co., Camden, STGE, Deepe, FM, HTR;
                    Racketeering, Influenced and Corrupt Organizations Act Claim
                     against all Defendants; and
                    Unfair and Deceptive Trade Practices against all Defendants.

      2.     That the cost and expense incurred in prosecuting this action be taxed

against the Defendants, including all attorney fees allowed by law.

      3.     That all issues triable by a jury be so tried.

      4.     For all exemplary damages, including but not limited to punitive damages,

as allowed by law.

      5.     That those damages for violation of North Carolina General Statute, Chapter

75, be trebled and Plaintiffs be awarded their attorney fees.

      6.     For all other relief, both legal and equitable, that the Court deems just and

proper.

                        SIGNATURES ON THE FOLLOWING PAGE

                  REMAINDER OF THIS PAGE INTENTIONALLY BLANK


                                            34

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 34 of 38
This the 8th day of February, 2021.

                                  JAMES, McELROY & DIEHL, P.A.

                                          s/ John R. Buric
                                  John R. Buric, N.C. State Bar No. 22688
                                  jburic@jmdlaw.com
                                  Preston O. Odom, N.C. State Bar No. 29587
                                  podom@jmdlaw.com
                                  John R. Brickley, N.C. State Bar No. 41126
                                  jbrickley@jmdlaw.com
                                  525 N. Tryon Street, Suite 700
                                  Charlotte, North Carolina 28202
                                  Telephone: (704) 372-9870
                                  Facsimile: (704) 333-5508
                                  Attorneys for Plaintiffs

                                  NELSON    MULLINS               RILEY         &
                                  SCARBOROUGH, LLP

                                         s/ B. Keith Poston
                                  Brandon Keith Poston, S.C. State Bar No. 78397
                                  Admitted Pro Hac Vice
                                  1320 Main Street, 17th Floor
                                  Columbia, South Carolina 29201
                                  Telephone: (803) 799-2000
                                  Facsimile: (803) 256-7500
                                  keith.poston@nelsonmullins.com
                                  Attorneys for Robert F. Anderson in his capacity
                                  as Chapter 7 Trustee for Grinding Specialists of
                                  the Carolinas, LLC; and Grinding Specialists,
                                  LLC.




                                      35

Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 35 of 38
                            GLEISSNER LAW FIRM, LLC

                                   s/ Luke R. Gleissner
                            Luke R. Gleissner, S.C. State Bar No. 12707
                            Admitted Pro Hac Vice
                            Richard R. Gleissner, S.C. State Bar No. 5389
                            Admitted Pro Hac Vice
                            1237 Gadsden Street, Suite 200A
                            Columbia, South Carolina 29201
                            Telephone: (803) 787-0505
                            Facsimile: (803) 712-4283
                            luke@gleissnerlaw.com                           |
                            rick@gleissnerlaw.com
                            Attorneys for Janet B. Haigler in her Capacity as
                            Chapter 7 Trustee For Callahan Grading, LLC




                              36

Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 36 of 38
                                   CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing PLAINTIFFS’ AMENDED

COMPLAINT with the Clerk of Court using the CM/ECF system, which will send notification

of such filing to the following:

       This the 8th day of February, 2021.


                                           JAMES, McELROY & DIEHL, P.A.

                                                   s/ John R. Buric
                                           John R. Buric, N.C. State Bar No. 22688
                                           jburic@jmdlaw.com
                                           Preston O. Odom, N.C. State Bar No. 29587
                                           podom@jmdlaw.com
                                           John R. Brickley, N.C. State Bar No. 41126
                                           jbrickley@jmdlaw.com
                                           525 N. Tryon Street, Suite 700
                                           Charlotte, North Carolina 28202
                                           Telephone: (704) 372-9870
                                           Facsimile: (704) 333-5508
                                           Attorneys for Plaintiffs

                                           NELSON    MULLINS               RILEY         &
                                           SCARBOROUGH, LLP

                                                  s/ B. Keith Poston
                                           Brandon Keith Poston, S.C. State Bar No. 78397
                                           Admitted Pro Hac Vice
                                           1320 Main Street, 17th Floor
                                           Columbia, South Carolina 29201
                                           Telephone: (803) 799-2000
                                           Facsimile: (803) 256-7500
                                           keith.poston@nelsonmullins.com
                                           Attorneys for Robert F. Anderson in his capacity
                                           as Chapter 7 Trustee for Grinding Specialists of
                                           the Carolinas, LLC; and Grinding Specialists,
                                           LLC.


                                             37

       Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 37 of 38
                            GLEISSNER LAW FIRM, LLC

                                   s/ Luke R. Gleissner
                            Luke R. Gleissner, S.C. State Bar No. 12707
                            Admitted Pro Hac Vice
                            Richard R. Gleissner, S.C. State Bar No. 5389
                            Admitted Pro Hac Vice
                            1237 Gadsden Street, Suite 200A
                            Columbia, South Carolina 29201
                            Telephone: (803) 787-0505
                            Facsimile: (803) 712-4283
                            luke@gleissnerlaw.com                           |
                            rick@gleissnerlaw.com
                            Attorneys for Janet B. Haigler in her Capacity as
                            Chapter 7 Trustee For Callahan Grading, LLC




                              38

Case 3:20-cv-00564-GCM Document 29 Filed 02/08/21 Page 38 of 38
